64 F.3d 658
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Nathaniel MORGAN, Petitioner--Appellant,v.Warden WANNAMAKER, Dutchman Correctional Institution;  T.Travis Medlock, Attorney General of the State ofSouth Carolina, Respondents--Appellees.
    No. 95-6531.
    United States Court of Appeals, Fourth Circuit.
    Aug. 17, 1995.Submitted:  July 27, 1995Decided:  Aug. 17, 1995
    
      Nathaniel Morgan, Appellant Pro Se.
      Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      Before ERVIN, Chief Judge, MOTZ, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Morgan v. Wannamaker, No. CA-94-1363-3-19BC (D.S.C. Mar. 21, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    